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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
Norfolk Division
DAVID BAUST, et al.,
Plaintiffs,

Vv. CIVIL ACTION NO. 2:20cv595

CITY OF VIRGINIA BEACH,
Defendant.
MEMORANDUM ORDER

This matter comes before the court on the parties’ Joint
Motion to Approve Settlement Agreement (“Motion”), ECF No. 41;
the accompanying Memorandum and exhibits, ECF No. 42; the
proposed settlement agreement (“Settlement Agreement”), ECF
No. 42-1; and Plaintiffs’ First and Second Supplemental Filings
in Support of an Award of Reasonable Attorneys’ Fees Under the
Settlement Agreement and associated exhibits, ECF Nos. 44, 46,
including the Declaration of Sara lL. Faulman, ECF No. 44-1
at 1-13 (“Faulman Declaration”). The parties seek court approval
of the Settlement Agreement, which would resolve this action
brought by Plaintiffs under the Fair Labor Standards Act,
29 U.S.C. § 201 et seq. (“FLSA”), and the Virginia Gap Pay Act,
Va. Code Ann. § 9.1-701 et seg. (“VGPA”).

For the reasons explained below, the court FINDS the
Settlement Agreement to be a fair and reasonable resolution of a

bona fide dispute over FLSA provisions, and further FINDS the
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attorneys’ fees and expenses negotiated under the Settlement
Agreement to be reasonable.
I. BACKGROUND

This matter concerns requirements employers must abide by
when compensating employees for hours worked over forty (40) in
any given week, i.e., “overtime” pay requirements. The
requirements relevant in this case are codified in two bodies of
law: one federal and one state. At the federal level, the FLSA
establishes a default position that employers must compensate
employees for all hours worked over forty (40) hours per week at
a rate of at least one and one-half times the employee’s regular
rate of pay. See 29 U.S.C. § 207(a) (1). However, workers
“employed in a bona fide executive, administrative, or
professional capacity” are generally not entitled to this
overtime compensation. See 29 U.S.C. § 213(a) (1). Such employees
are commonly referred to as “exempt.” The VGPA establishes
overtime pay requirements and other protections for “fire
protection employees” similar to those imposed by the FLSA. See
Va. Code Ann. § 9.1-701.

Plaintiffs,! current and former EMS Captains employed by the

City of Virginia Beach, Virginia (“Defendant” or “City”), filed

 

1 “Plaintiffs” refers to eight individuals, collectively:
David Baust, Elizabeth Beatty, Michael Brown, Nicholas DiCaprio,
William Padgett, Erik Svejda, Christopher West, and
Kaleigh Zehr.
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their Complaint on November 25, 2020. ECF No. 1. Plaintiffs
alleged that at all relevant times Defendant improperly
classified them as “exempt” employees who were not “fire
protection employees” within the meaning of the VGPA, thereby
depriving them of overtime pay and other benefits in violation
of the FLSA and VGPA. See id. 911-3, 6, 16, 22. The parties
conducted extensive discovery, filed cross-motions for summary
judgment, and, ultimately, reached a settlement amenable to both
Plaintiffs and Defendant. ECF No. 42-1.

The Settlement Agreement imposes two important obligations
on Defendant. First, it would require Defendant to make a total
payment of $200,000, of which $80,000 would he paid directly to
Plaintiffs’ counsel for attorneys’ fees and expenses of
litigation, with Plaintiffs receiving the balance of $120,000
through payroll checks. Id. @@ 2.1-2.2. Second, Defendant would
be required to convert the EMS Captains’ classification to non-
exempt. Id. @ 2.1.

The court must now assess whether the Settlement Agreement
satisfies the requirements of the FLSA.

II. LEGAL STANDARD

“All FLSA settlements must be approved either by the United
States Department of Labor or the court.” Carr v. Rest Inn,
Inc., No. 2:14cv609, 2015 WL 5177600, at *2 (E.D. Va.

Sept. 3, 2015) (Leonard, Mag. J.) (collecting cases). “Such
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approval is required for both class actions and individual cases

.“ Id. The court must determine whether the proposed
Settlement Agreement “is a fair and reasonable resolution of a
bona fide dispute over FLSA provisions.” Minsterman _v. 5.1L.

Nusbaum Realty Co., No. 2:10cv303, 2011 WL 9687817, at *1

 

(E.D. Va. Jan. 21, 2011) (Davis, Jd.) (quoting Lynn’s Food
Stores, 679 F.2d at 1355).

In making a fairness determination, courts weigh a number
of factors, including:

(1) the extent of discovery that has taken place;

(2) the stage of the proceedings, including the
complexity, expense and likely duration of the

litigation;
(3) the absence of fraud or collusion in _ the
settlement;
(4) the experience of counsel who have represented the
plaintiffs;

(5) the probability of plaintiffs’ success on the
merits [;] and

[(6)] the amount of the settlement in relation to the

potential recovery.
Patel v. Barot, 15 F. Supp. 3d 648, 656 (E.D. Va. 2014)
(Morgan, J.) (quoting In re Dollar Gen. Stores FLSA Litig.,
No. 5:09-md-1500, 2011 WL 3841652, at *2 (E.D.N.C.
Aug. 23, 2011)).

When considering these factors, courts must also keep in
mind that

[a] compromise is the essence of a settlement and the

trial court should not make a proponent of a proposed

settlement justify each term of a settlement agreement
against a hypothetical or speculative measure of what

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concessions might have been gained since inherent in

compromise is a yielding of absolutes and abandoning

of highest hopes.
Lomascolo v. Parsons Brinckerhoff, Inc., No. 1:08-cv-1310, 2009
WL 3094955, at *10 (E.D. Va. Sept. 28, 2009) (Trenga, J.)
(citing Cotton v. Hinton, 559 F.2d 1326, 1330 (5th Cir. 1977)).
Moreover, “there is an overriding public interest in favor of
settlement.” Id. Therefore, “[t]here is a ‘strong presumption in

favor of finding a settlement fair’ . .. .” Id. (quoting Camp

v. Progressive Corp., Nos. Civ. A. 01-2680, Civ. A. 03-2507,

 

2004 WL 2149079, at *5 (E.D. La. Sept. 23, 2004)).

The court must also review awards of attorneys’ fees in a
FLSA case. Carr, 2015 WL 5177600, at *3. The FLSA’s fee-shifting
provision provides that the court “shall, in addition to any
judgment awarded to the . . . plaintiffs, allow a reasonable
attorney’s fee to be paid by the defendant, and costs of the
action.” 29 U.S.C. § 216(b). As courts have explained, this
provision illustrates that “[t]he FLSA ‘contemplates that the
wronged employee should receive his full wages plus the penalty
without incurring any expenses for legal fees or costs.’” Carr,
2015 WL 5177600, at *3 (quoting Poulin, 2010 WL 1813497, at *1).
Accordingly, “the FLSA requires judicial review of the
reasonableness of counsel’s legal fees to assure both that
counsel is compensated adequately and that no conflict of

interest taints the amount the wronged employee recovers under a
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settlement agreement.” Id. (quoting Poulin, 2010 WL 1813497,
at *1 (internal quotation marks omitted)).

The Fourth Circuit has outlined a three-step process for
arriving at a reasonable attorney’s fee: “(1) determine a
lodestar figure; (2) subtract fees for hours spent on
unsuccessful claims unrelated to successful ones; and
(3) evaluate the degree of success of the plaintiffs.” Randolph
v. PowerComm Constr., Inc., 780 F. App’x 16, *22 (4th Cir.
2019). While “‘the parties’ voluntary agreement is due some
deference, courts in this Circuit generally examine the lodestar
princip[les] “as a guide” or a “cross check” to assessing the
fairness of the negotiated sum.’” Davis _v. BT Ams. Inc.,
No. 2:16-cv-206, 2017 WL 11506967, at *3 (E.D. Va. May 10, 2017)
(Smith, J.) (quoting Stone v. SRA Int’l, Inc., No. 2:14-cv-209,
2015 WL 12748271, at *3 (E.D. Va. Mar. 20, 2015) (Miller,
Mag. J.)). “(T]he lodestar amount .. . is defined as a
‘reasonable hourly rate multiplied by hours reasonably
expended.’” Carr, 2015 WL 5177600, at *3 (quoting Grissom _v.
Mills Corp., 549 F.3d 313, 320-21 (4th Cir. 2008)).

The following twelve factors, first stated in Johnson v.

Ga. Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974),

 

guide a district court’s discretion in determining what
constitutes a “reasonable” number of hours and rate:

(1) the time and labor expended;
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(2) the novelty and difficulty of the questions
raised;

(3) the skill required to properly perform the legal
services rendered;

(4) the attorney’s opportunity costs in pressing the
instant litigation;

(5) the customary fee for like work;

(6) the attorney's expectations at the outset of the
litigation;

(7) the time limitations imposed by the client or
circumstances;

(8) the amount in controversy and the results
obtained;

(9) the experience, reputation and ability of the
attorney;

(10) the undesirability of the case within the legal
community in which the suit arose;

(11) the nature and length of the professional
relationship between attorney and client; and

(12) attorneys’ fees awards in similar cases.
Robinson v. Equifax Info. Servs., LLC, 560 F.3d 235, 243-44 (4th
Cir. 2009) (spaces added) (quoting Barber v. Kimbrell’s, Inc.,
577 F.2d 216, 226 n.28 (4th Cir. 1978)). A court need not
consider all twelve Johnson factors, only those relevant to the
particular litigation. See Lafleur v. Dollar Tree Stores, Inc.,
189 F. Supp. 3d 588, 595 (E.D. Va. 2016) (Jackson, J.) (quoting

In re A.H. Robins Co., Inc., 86 F.3d 364, 376 (4th Cir. 1996)).

 

Similarly, the court need not consider factors a second time

which it already addressed in its lodestar analysis. Id.
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(quoting E. Associated Coal Corp. v. Dir., OWCP, 724 F.3d 561,
570 (4th Cir. 2013)).

The court must calculate a reasonable rate “according to
the prevailing market rates in the relevant community.” Id.
at 596 (quoting Blum v. Stenson, 465 U.S. 886, 895 (1984)).
However, “when the complexity and specialized nature of the case
necessitates choosing an attorney outside of the community, and
when the party choosing the attorney acted reasonably in making
that choice,” the rates in the attorney’s community may also be
considered. Id. (citing Rum Creek Coal Sales, Inc. v. Caperton,
31 F.3d 169, 179 (4th Cir. 1994)).

III. ANALYSIS
A. BONA FIDE DISPUTE

In the context of unpaid-overtime claims brought under the
FLSA, a “bona fide dispute exists when an employee makes a claim
that he or she is entitled to overtime payment. To settle such a
dispute, there must be a resolution of the number of hours
worked or the amount due.” Lomascolo, 2009 WL 3094955, at *16.

The Settlement Agreement resolves a bona fide dispute
between the parties concerning Plaintiffs’ entitlement to unpaid
overtime, among other issues. As illustrated by the parties’
cross Motions for Summary Judgment, the parties disagree as to
whether Plaintiffs are entitled to the overtime pay demanded

under the relevant FLSA and VGPA provisions. Compare Pls.’ Mem.
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Supp. Summ. J., ECF No. 29 at 19-27 (alleging non-exempt status,
coverage under VGPA, and entitlement to unpaid overtime), with
Def.’s Mem. Supp. Summ. J., ECF No. 32 at 18-29 (alleging that
Plaintiffs are exempt employees not covered by FLSA or VGPA).

The parties agree that several confounding factors make the
ultimate outcome of a trial uncertain. ECF No. 42 at 8-11. This
is illustrated by the fact that, under the Settlement Agreement,
Defendant does not admit liability. ECF 42-1 @ 5.1. Moreover,
the Settlement Agreement resolves Plaintiffs’ claims by
providing for their dismissal in exchange for a payment of
$120,000 and Defendant’s reclassification of the EMS Captain
position as non-exempt. Id. §§ 2-4. Therefore, the court FINDS
that the Settlement Agreement resolves a bona fide dispute
concerning FLSA provisions that exists between the parties.

B. FAIR AND REASONABLE SETTLEMENT

The court next addresses whether the Settlement Agreement
“is a fair and reasonable resolution” of the parties’ dispute.
Minsterman, 2011 WL 9687817, at *1 (quoting Lynn’s Food Stores,
679 F.2d at 1355). In doing so, the court keeps in mind the
strong presumption in favor of finding a settlement fair.

Factor (1): Extent of Discovery that Has Taken Place
Extensive discovery has already taken place in this case.
Indeed, the court’s Rule 16(b) Scheduling Order required it to

be completed by June 30, 2021. ECF No. 19 QI 3-4. During
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discovery, the parties exchanged documents and conducted
numerous depositions. ECF No. 42 at 6. This has enabled the
parties “to narrow the issues in the case and adequately assess
the likelihood of success at trial.” See Selk v. Pioneers Mem’ 1
Healthcare Dist., 159 F. Supp. 3d 1164, 1177 (S.D. Cal. 2016).
This factor, therefore, weighs in the parties’ favor.

Factor (2): Stage of the Proceedings, Including the
Complexity, Expense and Likely Duration of the Litigation

As noted above, the proceedings have progressed to an
advanced stage.? It is clear to the court that the process has
allowed “the [p]Jarties and their counsel to obtain and review
evidence, to evaluate their claims and defenses[,] and to engage
in informed arms-length settlement negotiations with the
understanding that it would be a difficult and costly
undertaking to proceed to the trial of this case.” Lomascolo,
2009 WL 3094955, at * 11. Indeed, should this matter proceed to
trial, a jury would have to resolve multiple complex questions
concerning the application of the FLSA and VGPA to the facts of
this case. See ECF No. 42 at 6-7 (Memorandum in Support of Joint
Motion to Approve Settlement Agreement identifying seven (7)
issues for trial). These circumstances weigh in favor of

approving the settlement.

 

2 See supra Part III.A. (noting pending cross-motions for
summary judgment).

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Factor (3): Fraud or Collusion in the Settlement

“There is a presumption that no fraud or collusion occurred
between counsel, in the absence of any evidence to the
contrary.” Davis, 2017 WL 11506967, at *4 (quoting Lomascolo,
2009 WL 3094955, at *12). In this case, there is no evidence
that fraud, collusion, or a conflict of interest tainted the
bargaining process. The parties negotiated at arms-length and
neither Plaintiffs, nor Defendant, object to the Settlement
Agreement. ECF No. 42 at 7; id. at Ex. 1 at 12-19 (settlement
authorization forms signed by all eight Plaintiffs). Thus, this
factor also favors the court approving the Settlement Agreement.

Factor (4): Experience of Counsel Who Have Represented
Plaintiffs

Plantiffs are represented in this action by multiple
experienced attorneys with McGillivary Steele Elkin LLP (the
“Firm”). Faulman Decl. 4 1-2, 12-15, 18-21. Five attorneys,
ranging in experience from two to thirty years, worked on
Plaintiffs’ matter. Id. Lead counsel, Sara Faulman, iS a partner
with the Firm and has “over 17 years of civil litigation
experience with particular emphasis in wage and hour collective
and class actions on behalf of employees in FLSA and other wage
cases.” Id. 99% 1-2. The court also notes that Ms. Faulman has
served, or is currently serving, as plaintiffs’ counsel in

multiple FLSA actions in this district. Id. 1 5. Given this

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impressive record, the “attorney experience” factor also weighs
in favor of finding the settlement fair and reasonable.
Factors (5) & (6): Probability of Plaintiffs’ Success on
the Merits & Amount of the Settlement in Relation to the
Potential Recovery

Should this case proceed to trial, a jury would have to
resolve the fact-bound issues that pervade. As the parties
concede, “(t]he ultimate resolution of these issues through
litigation could result in Plaintiffs failing on liability and,
therefore, not recovering at all.” ECF No. 42 at 8. There is
conflicting case law concerning Plaintiffs’ exemption status,
resolution of the liquidated damages issue would turn on whether
the city acted in good faith, and the extent of damages
recoverable under the applicable statute of limitations hinges
on whether Defendant’s alleged FLSA violations were willful. Id.
at 8-11.

Ultimately, Plaintiffs potential recovery ranges from zero
to $470,000. See id. at 11-12. Under the Settlement Agreement,
the eight Plaintiffs would split $120,000, or about 25% of their
maximum potential recovery, and would have the costs and
expenses of the litigation reimbursed to their attorneys. See
id. at Ex.1 (@ 2.1-2.2. Importantly, Defendant would also be
required to remedy the allegedly improper classification of EMS
Captains as exempt employees. Id. at 4 2.1. Given the

uncertainty of any recovery should the matter proceed to a jury

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trial, the direct payment Plaintiffs will receive, as well as
the payment of expenses to their attorneys, and Defendant’s
obligation to convert the contested position classifications to
non-exempt, factors Five and Six favor settlement approval.

Conclusion

Having weighed the above factors, and keeping in mind the
“overriding public interest in favor of settlement, particularly
in class action suits,” Lomascolo, 2009 WL 3094955, at *10, as
well as the “strong presumption in favor of finding a settlement
fair,” id. (quoting Camp, 2004 WL 2149079, at *5), the court
FINDS the Settlement Agreement to be a fair and reasonable
resolution of a bona fide dispute over FLSA provisions.

C. ATTORNEYS’ FEES

The Settlement Agreement provides for the Firm to be paid
$80,000, or 40% of the total payment Defendant must tender. ECF
No. 42-1 944 2.1-2.2. This is a reasonable fee award in light of
the hours reasonably invoiced by Firm attorneys and expenses
reasonably incurred in this matter. See 29 U.S.C. § 216(h)
(explaining that “(t]he court . . . shall, in addition to any
judgment awarded to the . . . plaintiffs, allow a reasonable
attorney’s fee to be paid by the defendant, and costs of the

action”).

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1. Lodestar Amount

The court must first calculate a lodestar figure by
multiplying a reasonable hourly rate by the number of hours
reasonably expended by the Firm. See LaFleur, 189 F. Supp. 3d
at 595 (citing Brodziak v. Runyon, 145 F.3d 194, 196 (4th Cir.
1998)). The Firm submitted a detailed statement itemizing the
hours each of its attorneys and paralegals spent on this case,
the rate charged by each timekeeper, and expenses incurred by
the firm in pursuing the instant matter. ECF No. 46-1 at 4-56
(“Billing Statement”). The Billing Statement reflects fees of
$191,648.00 and expenses of $13,884.69, totaling $205,532.69.
Id. at 6. For the reasons explained below, the court FINDS that
$195,950.29 (95% of the fees invoiced plus the Firm’s full
expenses) is an appropriate lodestar.

i. Hourly Rates
The hourly rates charged by Plaintiffs’ counsel3 are

reasonable, as they are consistent with the rates underlying

 

3 The following table reflects the hourly rates charged by,
and experience of, each timekeeper:

 

 

 

 

 

 

 

 

 

 

Years of Experience Hourly Rate
30 $430
17 $430
12 $430
6 $250
2 $200
Various Paralegals $100

 

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other FLSA fee awards approved in this District. See LaFleur,
189 F. Supp. 3d at 597-98 (finding hourly rates ranging from $75
to $475 reasonable); Carr, 2015 WL 5177600, at *4 (finding $ 500
hourly rate “reasonable based on [the attorney’s] experience and
competence, and the nature of [the case]”). Plaintiffs’ counsel
are highly experienced in FLSA wage and = hour actions.‘
Importantly, the rates charged are tied to the experience of the
billing attorneys and are a reduction from the rates the
attorneys normally charge in the D.C. metropolitan area, where
the Firm is based. See Faulman Decl. at q 23.°
ii. Hours Billed

The court recognizes that a substantial amount of work was
required to move this case forward to trial, and notes that no
entries in the Billing Statement reveal fees invoiced to this
matter for unrelated work. See ECF No. 46-1 at 4-56. Among other
tasks, counsel conducted substantial discovery, prepared for
multiple depositions, completed the work necessary to file a
motion for summary judgment, and negotiated with Defendant. See
id. However, the Billing Statement contains a substantial number

of individual entries documenting invoiced time attributed to

 

See Faulman Decl. (91 1-2, 12-15, 18-21 (experience); ECF
No. 46-1 at 5-6 (rates).

4 See supra Part MIII.B. (Factor (4)); note 3 = and
accompanying text.

5 See also supra note 3.
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more than one task.® This practice of “lumping” multiple tasks
into a single entry is commonly referred to as “block billing.”

“The court’s role is not to labor to dissect every
individual entry to hypothesize if the different tasks in the
same entry could reasonably result in the requested time.”
Project Vote/Voting for Am., Inc. v. Long, 887 F. Supp. 2d 704,
717 (E.D. Va. 2012) (Smith, J.). Accordingly, when block billing
“prevents an accurate assessment of the reasonableness of fa]
fee request” a court may “‘reduc[e] the overall fee award by a
fixed percentage or amount based on the trial court’s
familiarity with the case, its complexity, and _ the counsel
involved.’” See id. at 716-17 (quoting Guidry v. Clare, 442 F.
Supp. 2d 282, 294 (E.D. Va. 2006) (Ellis, J.)) (10% reduction in
lodestar under similar fee-shifting statute due to block billing
and other concerns).

The Firm’s block billing here did not entirely disable the

court from assessing the reasonableness of the hours billed. It

 

6 See, e.g., ECF No. 46-1 at 13 (5.7 hours: “Office
conference in advance of M. Smith Deposition; attend M. Smith
Deposition; office conference, re: follow up matters as a result
of City responses and further discovery; email to City,
re: additional deposition”; 7.4 hours: “Prepare for and attend
deposition of Kopin; mid-deposition and post-deposition
discussion with SMB regarding same; prepare for and participate
in call with SMB and CMW regarding plaintiff prep; draft outline
template for plaintiff prep and analyze Plaintiff Personnel file
for information; emails with opposing counsel regarding
deposition of Chief”).

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did, however, undermine the court’s ability to precisely and
confidently assess the reasonableness of time spent on tasks
which were “lumped” together and assigned an aggregated time.’
Therefore, upon consideration of the circumstances and
complexity of this case, as well as the experience of counsel
representing Plaintiffs, the court FINDS that a 5% reduction in
the fees billed by the Firm is proper.

If Plaintiffs had prevailed at trial, Defendant would have
been liable for the “costs of the action.” 29 U.S.C. § 216(b).
However, if Plaintiffs had not prevailed at trial, they faced
potential liability to the Firm for the costs of $13,884.69
expended in the litigation. See Faulman Decl. { 25 (Firm
requests reimbursement of litigation expenses). The court FINDS
that the requested reimbursement is warranted in light of the
Firm’s documented expenses and the substantial volume of filings

in this matter. ECF No. 46-1 at 42-56.8 Therefore, the court

 

7 See supra note 6.

8 Plaintiffs’ counsel itemized their expenses as follows:
$6,572.84 for copies, $625.00 for court fees, $61.00 for
“Docusign”, $156.50 for process servers, and $6,470.35 for
transcripts. ECF No. 46-1 at 43. The court notes that the Firm
did not provide individual receipts to document their court
fees, Docusign charges, or process server expenses. However, the
court is confident that counsel’s represented expenses, provided
under oath, are reasonable and accurate in light of the number
of filings in this matter.

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FINDS that $195,950.29 (95% of the fees invoiced plus the Firm’s
full expenses) is an appropriate lodestar.
iii. Johnson Factors

The relevant Johnson factors weigh in favor of finding the
court’s lodestar reasonable. The court begins by recognizing, as
a general matter, that FLSA wage and hour actions are “fact
intensive, requiring significant commitments of time and
personnel to litigate.” See Davis, 2017 WL 11506967, at *6.
Further, this matter was “brought as a class action... which
inherently requires considerable coordination and management.”
Id. As already explained, the issues presented concern difficult
questions of, among other things, Defendant’s “good faith” and
conflicting case law.?

Furthermore, Plaintiffs’ counsel are highly skilled in
pursuing FLSA wage and hour claims, and took this case on a
contingent-fee basis.1° The work required to diligently pursue
Plaintiffs’ claims affected counsels’ decisions concerning “what
fee-generating cases and other matters it could, and could not,
pursue” while litigating this matter for more than a year. ECF
No. 44 at 5, 9. The Firm “bore all litigation expenses and

assumed the risk of non-payment if [] Plaintiffs’ claims were

 

9 See supra Part III.B. (Factors (5) & (6)).

10 See supra Part III.B. (Factor (4)); ECF No. 44 at 7.
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ultimately unsuccessful.” Id. at 7. To date, the Firm has not
received any payment for its services. Id. at 3.

The court recognizes that the percentage of the total
recovery Plaintiffs’ counsel would receive is more than the
one-third provided for in traditional contingent-fee
arrangements: the $80,000 the Firm would receive represents 40%
of the total payment Defendant must tender. ECF
No. 42-1 4% 2.1-2.2. That said, “[{i]n FLSA cases, like other
discrimination or civil rights cases, the attorneys’ fees need
not be proportional to the damages plaintiffs recover {] because
an award of attorneys’ fees in such cases encourages the
vindication of Congressionally identified policies and rights.”
See Davis, 2017 WL 11506967, at *6 (quoting Spencer v. Cent.
Servs., LLC, No. CCB 10-03469, 2012 WL 142978, at *4 n.4 (D. Md.
Jan. 13, 2012)) (approving settlement agreement providing for
plaintiffs’ counsel to receive 75% of total recovery). This is
especially true in light of the difficulty of contingent-fee
representations, from a business perspective, where the attorney
representing an allegedly wronged employee may recover nothing
at all.

Therefore, upon consideration of the Johnson factors, the
court FINDS that they do not counsel adjustment of the court’s
$195,950.29 lodestar. The court need not subtract any amount

from this figure for unsuccessful claims unrelated to _ the

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instant matter, as only fees and expenses relating to this case
were used to calculate the lodestar.
2. Degree of Success Achieved by the Plaintiffs

The court must next consider the reasonableness of the fee
award in light of the success the Firm achieved for Plainitffs.
The $80,000 that the Firm will receive under the Settlement
Agreement represents roughly 40.8% of the $195,950.29 lodestar
amount and 40% of the total payment Defendant must tender. This
is justified in light of the benefits Plaintiffs will receive
through the Settlement Agreement, namely, the monetary award,
payment of litigation expenses, and the reclassification of the
EMS Captain position.

The court recognizes that $120,000 is a fraction of what
Plaintiffs would recover in a best-case scenario.!! However, “[a]
compromise is the essence of a settlement” and “inherent in
compromise is a yielding of absolutes and abandoning of highest
hopes.” Lomascolo, 2009 WL 3094955, at *10 (citing Cotton, 559
F.2d at 1330). Given the significant concessions gained during
the negotiation process, especially in light of the potential
for Plaintiffs to ultimately recover nothing, Plaintiffs appear
to have enjoyed a substantial degree of success.

Accordingly, after consideration of the relevant Johnson

factors and the degree of success achieved by Plaintiffs, and

 

11 See supra Part III.B. (Factors (5) & (6)).
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using the lodestar amount as a guide, the court FINDS that the
$80,000 award for attorneys’ fees and expenses is reasonable.!4
IV. CONCLUSION

For all of the above reasons, the court FINDS’ the
Settlement Agreement to be a fair and reasonable resolution of a
bona fide dispute over FLSA provisions, and further FINDS the
attorneys’ fees and expenses negotiated under the Settlement
Agreement to be reasonable. The parties are DIRECTED to file an
executed copy of the Settlement Agreement, signed by all the
parties, within fourteen (14) days from the date of entry of
this Memorandum Order. A Final Order granting the Joint Motion
to Approve Settlement Agreement, ECF No. 41, and dismissing the
parties will be entered thereafter.

The Clerk is DIRECTED to forward a copy of this Memorandum

Order to all counsel of record.

IT IS SO ORDERED. /sf RR

Rebecca Beach Smith
Senior United States District Judge

REBECCA BEACH SMITH
SENIOR UNITED STATES DISTRICT JUDGE

 

 

December 8 , 2021

 

12 The court also notes that because the lodestar fee is
more than two times greater than the award negotiated under the
Settlement Agreement, even a significant downward recalculation
of the lodestar would not render the negotiated fee
unreasonable. For example, a 50% across-the-board reduction of
the lodestar fee would yield a fee of $97,975.14 - substantially
more than the $80,000 provided for in the Settlement Agreement.

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